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          EXHIBIT A
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                                                                                                 E-FILED
                                                                                         IN COUNTY CLERK'S OFFICE
                                                                                       PIERCE COUNTY, WASHINGTON

                                                                                         September 13 2021 2:03 PM
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                                                                                              KEVIN STOCK
 2                                                                                           COUNTY CLERK
                                                                                           NO: 21-2-07430-0
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10              IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                          IN AND FOR THE COUNTY OF PIERCE
11
12    WALTER LINDULA,              )
                                   )                      NO.
13                   Plaintiff,    )
                                   )                      COMPLAINT FOR DAMAGES
14    vs.                          )
15                                 )
      PIERCE COUNTY, PIERCE COUNTY )
16    SHERIFF'S DEPARTMENT and     )
      DEPUTY ISAAC FINCH, DEPUTY   )
17    CHRISTOPHER TRASK, DEPUTY    )
18    LEE PRITCHARD,               )
                                   )
19                   Defendants.   )
20
      COMES NOW the Plaintiff, and for cause of action against defendants alleges as follows:
21
22
                                              1. PARTIES
23
      1.1    At all times material hereto, Plaintiff was a resident of Pierce County, Washington.
24
      1.2    Defendant ISAAC FINCH is a an individual who, as of August 3, 2018 , was employed
25
             as a Deputy Sheriff by the Pierce County Sheriffs Department.
26
      1.3    Defendant CHRISTOPHER TRASK is a an individual who, as of August 3, 2018,
27
             was employed as a Deputy Sheriff by the Pierce County Sheriffs Department.
28
      1.4    Defendant LEE PRITCHARD is a an individual who, as of August 3, 2018, was
29

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 1          employed as a Deputy Sheriff by the Pierce County Sheriffs Department.
 2    1.5   Defendant Pierce County is a municipal corporation organized under the laws of the
 3          State of Washington.
 4    1.6   Defendant Pierce County Sheriffs Department is an agency of Pierce County,
 5          Washington.
 6
 7                                 2. JURISDICTION AND VENUE
 8
 9    2.1   Plaintiff incorporates by this reference sections 1.1 through 1.6, inclusive as if set forth
10          in full.
11    2.2   All acts referred to herein occurred in Pierce County, Washington.
12    2.3   One or more of the named Defendants reside in Pierce Couty, Washington
13    2.4   Plaintiff resides in Pierce County, Washington.
14    2.5   Venue of this matter is proper in Pierce County, Washington under RCW 4.12.020.
15
16                                              3. FACTS
17
18    3.1   Plaintiff incorporates by this reference sections 2.1 through 2.5, inclusive as if set forth
19          in full.
20    3.2   On or about August 3, 2018, Deputies Isaac Finch, Christopher Trask and Lee
21          Pritchard (hereinafter referred to as "Deputy" individually or "Deputies" collectively)
22          were on duty working for the Pierce County Sheriffs Department.
23    3.3   In the early hours of August 3, 2018, one of more of the named Deputies responded
24          to an alleged domestic violence incident (hereinafter "incident") said to have occurred
25          some time earlier at Plaintiffs residence.
26    3.4   The alleged victim in the Incident, one Kaden Lindula-Bell, (grandson of Plaintiff)
27          suffered no apparent injuries in the alleged Incident.
28    3.5   Kaden Lindula-Bell did not allege that a weapon of any kind was used in the
29          commission of the alleged Incident.

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 1    3.6     When the Deputies arrived on the scene to investigate the Incident Plaintiff was semi-
 2            conscious in the wooded area behind the residence, suffering the effects of severe
 3            intoxication.
 4    3.7     Plaintiff was unarmed and posed no threat to the Deputies in the course of his arrest in
 5            as a suspect in the Incident.
 6    3.8     Despite the lack of apparent danger to any of the Deputies in conjunction with the
 7            Incident, Deputy ISAAC FINCH released canine unit "K-9 Ammo" which promptly
 8            and viciously attacked Plaintiff, inflicting numerous deep and severe bite wounds and
 9            claw scratches to Plaintiffs person.
10    3.9     On information and belief, the use of "K-9" ammo under the circumstances described
11            in sections 3.1 through 3.8 was inconsistent with Pierce County and/or Pierce County
12            Sheriff policy.
13    3.10    On information and belief, the training, or lack thereof, provided to the various
14            Deputies by Pierce County and/or the Pierce County Sheriffs Department contributed
15            in some degree to the decision of Deputy ISAAC FINCH to deploy "K-9 Ammo"
16            under the facts and circumstances of the Incident.
17    3.11    "K-9 Ammo" was allowed to continue biting, scratching and otherwise injuring
18            Plaintiff for an unreasonable amount of time after Plaintiff submitted to the arrest.
19    3 .12   On information and belief, the training, or lack thereof, provided to the various
20            Deputies by Defendant PIERCE COUNTY and/or the PIERCE COUNTY SHERIFF's
21            DEPARTMENT contributed in some degree to the decision of one or more of the
22            Deputies to allow "K-9 Ammo" to continue biting, scratching and otherwise injuring
23            Plaintiff for an unreasonable amount of time after Plaintiff submitted to the arrest.
24    3.13    Defendants PIERCE COUNTY and the PIERCE COUNTY SHERIFF's
25            DEPARTMENT had an affirmative duty to the public, and Plaintiff, to set its policies
26            for use of force, and to provide training and supervision in the use of force to all
27            Deputies, including those named herein, consistent with the statutory and common
28            laws of the State of Washington and the United States of America, the provisions of
29            the United States Constitution and the Constitution of the State of Washington.

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 1    3.14    On information and belief, PIERCE COUNTY and the PIERCE COUNTY SHERIFF's
 2            DEPARTMENT breached its duty to to the public, and to Plaintiff, by failing to limit
 3            the use of force, in particular the use of canine force, as a last resort in appropriate
 4            circumstances.
 5    3 .15   Appropriate circumstances for the use of canine force, to the level and extent used in
 6            by the Deputies named herein, were not present given the totality of the circumstances
 7            of the Incident being investigated on August 3, 2018 at Plaintiffs residence.
 8    3.16    Defendant PIERCE COUNTY and its agent Defendant PIERCE COUNTY SHERIFF's
 9            DEPARTMENT had an affirmative duty to the public, and Plaintiff, to train all canine
10            units, including "K-9 Ammo" to limit the infliction of damage to the public, and in this
11            case in particular to Plaintiff, by limiting biting behaviors to only those necessary to
12            secure a defendant for further detention by human handlers, in light of the severity of
               I

13            the charges being investigated.
14    3.17    Defendant PIERCE COUNTY and its agent Defendant PIERCE COUNTY SHERIFF's
15            DEPARTMENT breached its duty to the public, and Plaintiff, by failing to train all
16            canine units, including in particular "K-9 Ammo" to limit biting behaviors to only
17            those necessary to secure Plaintiff on a temporary basis and with a minimum of injury,
18            until Plaintiff was cuffed otherwise secured by the Deputies.
19    3.18    Defendants were operating under color of authority in the various acts and omissions
20            referenced in sections 3 .1 through 3 .17, inclusive.
21
22                          4. FIRST CAUSE OF ACTION - NEGLIGENCE
23                                         Against all Defendants
24    4.1     Sections 1. 1 through 3 .18, inclusive are incorporated by this reference as if set forth in
25            full.
26    4.2     Defendants owed Plaintiff a duty of care, which included refraining from taking which
27            were likely to injure Plaintiff while Plaintiff was under the control of the various
28            Deputy defendants named herein.
29    4.3     Defendants breached their respective duties to Plaintiff in one or more of the following

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 1           manners: By allowing use of "K-9 Ammo" under the facts and circumstances of the
 2           Incident, by failing to curtail the use of force in the course of the Incident in a timely
 3           manner, by failing to adequately train the Deputies and/or "K-9 Ammo" , by failing to
 4           set or enforce policies properly weighing use of force against liberty interests of the
 5           public and in this case, to Plaintiff and/or by failing to adequately train or supervise
 6           their various agents and employees.
 7    4.4    As a direct and proximate result of Defendants' negligence, Plaintiff suffered physical
 8           injuries to his limbs and torso and pain, suffering and emotional distress.
 9
10                                  5. SECOND CAUSE OF ACTION
11                        Against Deputies FINCH, TRASK and PRITCHARD
12                                             11   u.s.c. §1983
13
14    5.1    Sections 1.1 through 4.4, inclusive are incorporated by this reference as if set forth in
15           full.
16    5.2    On August 3, 2018, the Defendant Deputies were acting under color oflaw.
17    5.3    The Defendant Deputies, while acting under color of State law (by virtue of
18           his/her/their authority as Sheriffs Deputy(ies) deprived Plaintiff of a federally
19           protected right (Plaintiffs right to be free from unreasonable search and seizure
20           granted by the Fourth Amendment to the United States Consitution) by using
21           unnecessary and excessive force against Plaintiff when there was insufficent cause to
22           do so.
23    5.4    As a direct and proximate result of the unlawful acts or omissions of Deputy ISAAC
24           FINCH, Deputy CHRISTOPHER TRASK and/or DEPUTY LEE PRITCHARD,
25           Plaintiff:
26           a).      Suffered personal injury;
27           b).      Was required to submit to medical treatment;
28           c).      Suffered anxiety, pain and emotional distress;
29           d).      Incurred attorney's fees and the costs of this action.

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 1    5.5   Defendants' actions showed sufficient indifference to Plaintiffs rights to warrant an
 2          awardofpunitivedamagespursuantto 11 U .S.C. §1983.
 3    5.6   If successful in pursuing his case, Plaintiff is entitled to recover his attorneys fees and
 4          costs under 11 U.S.C. §1983.
 5
 6                                       6. PRAYER FOR RELIEF
 7
 8           WHEREFORE, Plaintiff prays for judgment agains Defendants in the amount of:
 9                  1.       Plaintiffs special and general damages in an amount to be proven at
10                           trial.
11                 2.        For Plaintiffs attorney's fees and costs as authorized by statute.
12                 3.        For Plaintiffs taxable fees and costs as authorized by statute.
13                 4.        For such other and further relief as the court deems equitable,
14                           appropriate or just.
15    DATED:   1- t°j ·Z DC-(
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